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6     ESTATE INFORMATION SERVICES, LLC

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8                                UNITED STATES DISTRICT COURT
9                              CENTRAL DISTRICT OF CALIFORNIA
10

11
      DAVID GEMINA, individually and                  Case No.: 5:16-cv-00262-PSG-DTB
12    on behalf of all others similarly
      situated,                                       NOTICE OF SETTLEMENT
13

14                              Plaintiff,
15
                vs.
16

17    ESTATE INFORMATION
      SERVICES, LLC.; DOES 1-100,
18
      AND EACH OF THEM.
19

20
                              Defendant(s)

21

22
      TO THE COURT, PARTIES AND THEIR ATTORNEYS:

23
                     PLEASE TAKE NOTICE that the parties have agreed to settle the above-

24    entitled matter in its entirety. The parties anticipate that they will complete the
25    settlement and file a stipulation of dismissal within 45 days from the date of this
26    Notice.
27    \\\
28    \\\
      {00056187;1}


                                                 1
                                             NOTICE OF SETTLEMENT
                                                                    Case No. 5:16-cv-00262-PSG-DTB
     Case 5:16-cv-00262-PSG-DTB Document 23 Filed 10/21/16 Page 2 of 3 Page ID #:87




1
                                            LAW OFFICES OF TODD M.
                                            FRIEDMAN, P.C.
2

3     Dated: October 20, 2016               s/Adrian R. Bacon
                                            Todd M. Friedman
4
                                            Adrian R. Bacon
5                                           Attorneys for Plaintiff,
6
                                            DAVID GEMINA

7

8                                           CARLSON & MESSER LLP
9
      Dated: October 20, 2016               s/David J. Kaminski
10                                          David J. Kaminski
                                            Stephen A. Watkins
11
                                            Attorneys for Defendant,
12                                          ESTATE INFORMATION SERVICES, LLC
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                                    NOTICE OF SETTLEMENT
                                                             Case No. 5:16-cv-00262-PSG-DTB
     Case 5:16-cv-00262-PSG-DTB Document 23 Filed 10/21/16 Page 3 of 3 Page ID #:88




1
                                   ATTESTATION OF SIGNATURES
2                    I, David J. Kaminski, am the ECF user whose identification and password
3
      are being used to file the Notice of Settlement. Pursuant to Civil Local Rule 5-
4
      1(i)(3), I hereby attest that all counsel whose electronic signatures in the Notice of
5
      Settlement provided their authority and concurrence to file that document.
6

7                                                     CARLSON & MESSER LLP
8
      Dated: October 20, 2016                         s/David J. Kaminski
9
                                                      David J. Kaminski
10                                                    Stephen A. Watkins
                                                      Attorneys for Defendant,
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                                                      ESTATE INFORMATION SERVICES, LLC
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                                              NOTICE OF SETTLEMENT
                                                                     Case No. 5:16-cv-00262-PSG-DTB
